Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 1 of 30            PageID.770



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                             IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF HAWAI’I


  LIANE WILSON, and                                   )
  JOANNA WHEELER                                      )   Civ. No. CV-11-00538 LEK BMK
                                                      )
                 PLAINTIFFS,                          )
                                                      )
  v.                                                  )
                                                      )
  WYNDHAM WORLDWIDE CORPORATION,                      )   FIRST AMENDED
  WYNDHAM VACATION OWNERSHIP, INC.,                   )   COMPLAINT
  WYNDHAM VACATION RESORTS, INC.,                     )
  MICHAEL JONAH, MARK POLLARD, AND                    )
  TOM VIRAG                                           )
                                                      )   JURY TRIAL DEMANDED
                                                      )
                 DEFENDANTS.                          )
                                                      )




                                                  1
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 2 of 30                        PageID.771




                                             COMPLAINT

          Plaintiffs LIANE WILSON and JOANNA WHEELER allege:

                                   NATURE OF THE ACTION

          1.     This action arises under HRS §§ 378-1 et seq., H.R.S. § 378-61, et seq., and

  Hawai’i common law and seeks to correct prohibited discrimination on the basis of gender by

  WYNDHAM WORLDWIDE CORPORATION, WYNDHAM VACATION OWNERSHIP,

  WYNDHAM VACATION RESORTS, INC. (“Corporate Defendants”), Vice President of Sales

  Mark Pollard, Vice President of Sales Michael Jonah, and Director of Sales Tom Virag

  (“Individual Defendants”) (collectively “Wyndham”).

          2.     Over the course of Plaintiffs’ employment at Wyndham, Wyndham permitted

  management to grant favorable sales opportunities to male Sales Associates and female Sales

  Associates who responded to male managers’ sexual requests.            Because Sales Associates’

  compensation is based solely on sales commission, male-dominated management’s manipulation

  of sales opportunities resulted in discriminatory compensation against the Plaintiffs. Moreover,

  Sales Associates’ promotional opportunities are heavily dependent on management’s discretion,

  resulting in discriminatory denials of promotion and career-enhancing opportunities against the

  Plaintiffs.

                                      JURISDICTION AND VENUE

          3.     Jurisdiction in this case is proper pursuant to Haw. Rev. Stat. § 603-21.5(3).

          4.     Venue in this Court is proper because the injuries sustained by Ms. Wilson and

  Ms. Wheeler, as well as the acts and omissions of Defendants, occurred in Princeville, Hawai’i,

  and because Defendants have offices in and regularly transact business in Princeville, Hawai’i.




                                                  2
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 3 of 30                       PageID.772




                         CONDITIONS PRECEDENT TO SUIT UNDER
                            HAW. REV. STAT. §§ 368-11, 368-12

         5.      Ms. Wilson has fulfilled all conditions precedent to the institution of this action

  under the laws of the State of Hawai’i. Ms. Wilson has filed an appropriate charge of sexual

  harassment, gender discrimination, and retaliation with the Hawai’i Civil Rights Commission

  (“HCRC”); Plaintiff received a “Right to Sue” letter on March 8, 2011.

         6.      Ms. Wheeler has filed an appropriate charge of gender discrimination and

  retaliation with the Hawai’i Equal Employment Opportunity Commission (“EEOC”) on May 27,

  2011, and is in the process of perfecting her rights.

                                               PARTIES
         A.      Plaintiffs

         8.      Plaintiff Liane Wilson (hereafter “Ms. Wilson”) was employed by Wyndham as

  a Sales Associate at Wyndham’s Bali Hai Villas location (“Princeville site”) in Princeville,

  Kauai. She currently resides in Princeville, HI.

         9.      Plaintiff Joanna Wheeler (hereafter “Ms. Wheeler”) was employed by

  Wyndham as a Sales Associate at Wyndham’s Bali Hai Villas location in Princeville, Kauai.

  She currently resides in Kapaa, HI.

         B.      Corporate Defendants

         10.     Defendant Wyndham Worldwide Corporation (“Wyndham Worldwide”) is a

  Delaware corporation with its principal place of business in Parsippany, New Jersey. It is

  registered with the Hawai’i Secretary of State as a foreign profit corporation.        Defendant

  Wyndham Worldwide has a significant presence in most major hospitality markets globally and

  throughout the United States. Defendant Wyndham Worldwide regularly transacts business in

  and operates numerous hospitality facilities in the State of Hawai’i.


                                                     3
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 4 of 30                     PageID.773




         11.     At all times relevant to this Complaint, Defendant Wyndham Worldwide has been

  an “employer” as defined under Haw. Rev. Stat. § 378-1.

         12.     Defendant Wyndham Worldwide offers lodging, vacation exchange/rental, and

  vacation ownership segments of the hospitality industry and touts more than 20 brands, including

  Wyndham Hotels and Resorts, Ramada, Days Inn, Super 8, Wyndham Rewards®, RCI, Landal

  GreenParks, English Country Cottages, Novasol, Wyndham Vacation Resorts (formerly Fairfield

  Resorts), and WorldMark by Wyndham (formerly TrendWest Resorts). Upon information and

  belief, Defendant Wyndham Worldwide is the parent company of the other named business

  entity Defendants. Because of the complicated and often hidden interrelationships between and

  among the named Defendant business entities and fictitious Defendant entities, the exact

  connection between and among the Wyndham entities is not completely known at this time. On

  information and belief, Defendant Wyndham Worldwide maintains control over central business

  functions in conjunction with other related Wyndham Corporate entities.

         13.     Defendant Wyndham Vacation Ownership, Inc. (“Wyndham Vacation

  Ownership”) is a Delaware corporation registered with the Hawai’i Secretary of State as a

  foreign profit corporation.     Defendant Wyndham Vacation Ownership regularly transacts

  business in and has multiple facilities in the State of Hawai’i.

         14.     At all times relevant to this Complaint, Defendant Wyndham Vacation Ownership

  has been an “employer” as defined under Haw. Rev. Stat. § 378-1.

         15.     Defendant Wyndham Vacation Ownership engages in the marketing and sales of

  vacation ownership interests, consumer financing in conjunction with the purchase of vacation

  ownership interests, property management services to property owners’ associations, and

  development and acquisition of vacation ownership resorts. Defendant Wyndham Vacation



                                                    4
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 5 of 30                            PageID.774




  Ownership touts itself to be the largest vacation ownership business in the world. Defendant

  Wyndham Vacation Ownership is headquartered in Orlando, Florida, and maintains a network of

  140 properties, 20,000 individual units, and over 800,000 property owners across North

  America, the Caribbean, and the South Pacific. Because of the complicated and often hidden

  interrelationships between and among the named Defendant business entities and fictitious

  Defendant entities, the exact connection between and among the Wyndham entities is not

  completely known at this time. Defendant Wyndham Vacation Ownership has been named a

  Defendant in this lawsuit because, upon information and belief, it employed Ms. Wilson and Ms.

  Wheeler at some point in time relevant to this suit.

         16.     Defendant Wyndham Vacation Resorts, Inc. (“Wyndham Vacation Resorts”) is

  a Delaware corporation registered with the Hawai’i Secretary of State as a foreign profit

  corporation.    Defendant Wyndham Vacation Resorts is registered as doing business in

  “timesharing” as “Wyndham Vacation Resorts, Inc.”          Defendant Wyndham Vacation Resorts,

  Inc. regularly transacts business in and has multiple facilities in the state of Hawai’i.

         17.     At all times relevant to this Complaint, Defendant Wyndham Vacation Resorts

  has been an employer as defined under Haw. Rev. Stat. § 378-1.

         18.     Defendant Wyndham Vacation Resorts is believed to be part of Defendant

  Wyndham Vacation Ownership and, upon information and belief, sells and finances vacation

  ownership interests and develops vacation ownership resorts. Because of the complicated and

  often hidden interrelationships between and among the named Defendant business entities and

  fictitious Defendant entities, the exact connection between and among the Wyndham entities is

  not completely known at this time. Upon information and belief, Defendant Wyndham Vacation




                                                    5
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 6 of 30                    PageID.775




  Resort maintains control over central business functions in conjunction with other related

  Wyndham Corporate entities.

         C.      Individual Defendant Michael Jonah

         19.     Defendant Michael Jonah (“Defendant VP Jonah”), at all times relevant to the

  allegations herein, was a resident of Hawai’i.

         20.     Upon information and belief, Defendant Jonah has been employed by one or more

  Corporate Defendants as Vice President of Sales. Upon information and belief, he is still

  employed at Wyndham in this location and same role. At all times relevant to this Complaint,

  Defendant Jonah was a supervisor and “agent” of Wyndham.

         D.      Individual Defendant Mark Pollard

         21.     Defendant Mark Pollard (“Defendant VP Pollard”), at all times relevant to the

  allegations herein, was a resident of Hawai’i.

         22.     Defendant Pollard was employed by one or more Corporate Defendants as Area

  Vice President and Vice President of Sales of the Princeville site. At the end of 2010, he was

  relocated to Wyndham’s Waikiki site and assumed the position of Vice President of Sales of the

  Waikiki site. He is still employed at Wyndham. At all times relevant to this Complaint,

  Defendant Pollard was a supervisor and “agent” of Wyndham.

         E.      Individual Defendant Thomas Virag

         23.     Defendant Thomas Virag (“Defendant Director of Sales Virag”), at all times

  relevant to the allegations herein, was a resident of Hawai’i.

         24.     Defendant Virag has been employed by one or more Corporate Defendants as

  Director of Sales of the Princeville site. He is still employed at Wyndham in the same location




                                                   6
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 7 of 30                       PageID.776




  and same role. At all times relevant to this Complaint, Defendant Virag was a supervisor and

  “agent” of Wyndham.

                                  PLAINTIFFS’ ALLEGATIONS

         A.      Liane Wilson

         25.     Ms. Wilson brings individual claims to recover damages for sexual

  harassment/hostile work environment, gender discrimination, and retaliation.

         26.        Ms. Wilson began her employment with Wyndham in December 2006 as a Sales

  Associate at Wyndham’s Princeville, Hawai’i site. At the time she applied and was offered

  employment at Wyndham, Ms. Wilson was not living on the island of Kauai. As a result, she

  relocated her home and family to Kauai so that she could pursue a career at Wyndham.

         27.     Throughout her career with Wyndham, Ms. Wilson was a high performer and won

  all of Wyndham’s awards for top performers, including the Legend Award, Top Performer of the

  Year, Rookie of the Year, and President’s Club. Her closing percentage surpassed 68 percent

  and she generated an average of $3 million in sales each year for the Wyndham.

               i.         Sexual Harassment/Hostile Work Environment

         28.     Within weeks after joining the Company in December 2006, VP Pollard

  approached Ms. Wilson and began to sexually harass her. VP Pollard’s harassment included

  comments about Ms. Wilson’s breasts and suggestions that she wear shorter skirts or low-cut

  blouses. On one occasion, VP Pollard told Ms. Wilson that his wife knew that he slept around

  with other women and that she didn’t care. He said specifically that his wife would not care if he

  and Ms. Wilson slept together. Suggestive comments such as these occurred frequently.

         29.     VP Pollard also frequently invited Ms. Wilson to have drinks with him. During

  award ceremonies, VP Pollard would ask Ms. Wilson to stay with him after everyone else left.



                                                  7
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 8 of 30                    PageID.777




  Situations like these became so frequent that Ms. Wilson eventually asked her husband to

  accompany her to Company events.        This harassment continued up until the date of her

  termination.

         30.     In addition to the sexual harassment committed by Wyndham management, the

  Company also tolerated coworker harassment.        Ms. Wilson experienced sexual harassment

  perpetrated by a male colleague, Sales Associate Charles Simerka, who transferred from

  Tennessee and was living at a timeshare provided to him by Wyndham as a gratuity. Mr.

  Simerka routinely made inappropriate remarks about Ms. Wilson’s clothes and body. During

  meetings with clients, he would gesture to her body and say, “This is why she sells so much.”

  Like VP Pollard, Mr. Simerka often told dirty jokes at the office. On several occasions, Ms.

  Wilson complained to Defendant Vice President of Sales Jonah about Mr. Simerka’s behavior.

  VP Jonah always dismissed Ms. Wilson’s concerns with comments such as, “That’s just because

  he’s a Southerner,” or “Boys will be boys.” In August 2009, Ms. Wilson brought her concerns to

  Human Resources Director Andrea Ward (“HR Director Ward”). HR Director Ward told Ms.

  Wilson that the Company would “take care of it.” However, upon information and belief, no

  investigation was conducted.   Mr. Simerka’s behavior continued up until the date of her

  termination.

         31.     Ms. Wilson was humiliated by the frequent sexual harassment to which she and

  her female colleagues were subjected at Wyndham.



                    i. Discriminatory Compensation and Denial of Career-Enhancing
                       Opportunities

         32.     Ms. Wilson quickly learned that Wyndham cultivated an environment in which

  male managers enjoyed unbridled decision-making power and used this power to bestow

                                                8
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 9 of 30                    PageID.778




  promotions and the most favorable sales opportunities upon male employees and female

  employees who consented to their sexual requests. Because Ms. Wilson was a female employee

  who refused Defendant Pollard’s sexual advances, she was denied opportunities that affected her

  pay and chances for promotion.

          33.     On one occasion, Defendant VP Jonah promoted female Sales Associate Tashina

  Lane to a management position after Ms. Lane began having sexual relations with him. VP

  Jonah then transferred male Sales Associate Rock White to Ms. Lane’s group and manipulated

  the “Daily Manifest”—the record of timeshare tours to be given by Sales Associates within a

  given day. As a result, Mr. White was assigned only tours for existing Wyndham owners who

  were seeking upgrades and whose credit and debt levels had already been approved by the

  Company. Thereafter, Mr. White began generating a substantially larger amount of business

  than the other Sales Associates, earning between $50,000 and $60,000 per month in

  commissions.        Because Ms. Lane was Mr. White’s direct manager, Ms. Lane received a

  percentage of these commissions and, as a result, earned more compensation than others at the

  Princeville site.

          34.     Similarly, Wyndham’s male managers discriminated against female employees

  who refused their sexual advances by, inter alia, manipulating the Daily Manifest so that these

  women were given no tours or the most unfavorable tours; placing these women on specific

  performance (“SP”) plans when they failed to meet their sales goals; and ultimately terminating

  female employees who refused their sexual advances entirely.

          35.     For instance, in the summer of 2008, Defendant VP Pollard approached Sales

  Associate Lisa Sharegt and requested that she have sexual relations with him. When Ms. Sharegt

  refused VP Pollard’s advances, Defendant Pollard manipulated the Daily Manifest so that Ms.



                                                9
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 10 of 30                     PageID.779




  Sharegt was not given any timeshare tours for existing Wyndham owners who were seeking

  upgrades. Instead, Defendant Pollard gave Ms. Sharegt only tours for clients who were uncertain

  about purchasing from Wyndham or whose debt levels made them questionable candidates for

  ownership. As a result, Ms. Sharegt’s sales numbers dropped so that her Volume Per Guest

  (“VPG”) dropped to just above the 2,000 benchmark under which an employee is eligible to be

  fired. The VPG represents how much a Sales Associate earns per each potential client to whom

  she gives a tour, and is used by Wyndham to measure Sales Associates’ performance. VP

  Pollard then terminated Ms. Sharegt, despite the fact that her VPG was above the 2,000

  benchmark and that she had never been placed on an SP plan.

         36.    By contrast, in September 2009, VP Pollard promoted Joyce Keyhoe, a female

  Sales Associate who was openly engaged in a sexual relationship with him, to a manager

  position. Ms. Keyhoe’s VPG was 1,800, or 200 points below the benchmark for firing.

         37.    On another occasion, VP Pollard failed to discipline a male Sales Associate

  whose VPG was below the firing mark.

         38.    Upon information and belief, despite egregious instances of gender discrimination

  and sexual harassment, and despite frequent complaints regarding these incidents to Wyntegrity

  and Wyndham Human Resources (“HR”), Wyndham failed to discipline the male harassers or

  remedy the situation. In addition, some Wyndham employees who complained about the gender

  discrimination and sexual harassment were fired for making these complaints. In fact, in 2008,

  Defendant Pollard announced that anyone who made complaints to HR would be fired.

         39.    True to VP Pollard’s word, Ms. Wilson observed that three Sales Representatives

  who complained directly to HR Director Ward were fired within 45 days of making their

  complaints. Specifically, in approximately the fall of 2008, VP Pollard physically and verbally



                                                10
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 11 of 30                        PageID.780




  assaulted Regina Hodges (“Ms. Hodges”), a female Sales Associate, in a car. Ms. Hodges and

  two witnesses, male Sales Associate Joseph Gephardt (“Mr. Gephardt”) and female Sales

  Associate Jessica Mugrage (“Ms. Mugrage”), who reported the attack to HR Director Ward,

  were subsequently fired. Ms. Wilson also complained about the attack to HR Director Ward and

  gave her the names of additional individuals to interview regarding the incident. Although Ms.

  Wilson followed up with HR Director Ward on multiple occasions regarding the investigation of

  Defendant Pollard’s attack, HR Director Ward never responded to her inquiries and never

  conducted any additional interviews.

         40.     In addition to HR Director Ward, other Wyndham Corporate representatives were

  aware of the rampant sexual harassment and gender discrimination at Wyndham but failed to

  take any action in response. For instance, in approximately September 2009, Administrative

  Director Cindy Lund conducted asexual harassment training at the Princeville site. As part of

  this training, Ms. Lund displayed computer modules with actors acting out different examples of

  sexual harassment. In the middle of this presentation to male and female Sales Associates,

  Defendant VP Jonah interrupted Ms. Lund and stated that our group did not need “this

  nonsense.” Defendant VP Jonah stated that everyone already knew what they needed to know.

  VP Jonah then pointed to Sales Associate Holly Fitzpatrick’s chest and advised that if a man

  wanted to say, “Check out the headlights on Holly,” he should first ensure that there were no

  women around. VP Jonah instructed Ms. Lund to pack up her computer and leave. Although

  this sexual harassment training was required by the Company, Wyndham never reprimanded VP

  Jonah for his statements and actions, and the Princeville site never received any additional sexual

  harassment training.




                                                  11
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 12 of 30                    PageID.781




               i.          Discriminatory Actions Related to Pregnancy and Maternity Leave

         41.     Over the course of Ms. Wilson’s employment, she also observed Wyndham

  discriminate against female employees because they were pregnant or were working mothers.

  Female Sales Associates who took leave for pregnancy or childcare responsibilities faced

  increased scrutiny at the hands of Wyndham management.

         42.     For example, Defendant VP Jonah often threatened to place Ms. Mugrage on

  probation due to attendance issues when she asked to take time off to care for her son when he

  was ill. VP Jonah’s treatment of Ms. Mugrage was in sharp contrast to his treatment of male

  Sales Associate Makana Osbourne. Mr. Osbourne often missed days of work. On the days he

  did appear at the office, he would sometimes smell of alcohol and appear under the influence of

  illegal substances. However, despite Mr. Osbourne’s attendance problems and appearance, he

  was never disciplined.

         43.    Ms. Mugrage complained to Defendant VP Pollard about the disparate treatment

  she was experiencing, pointing out that Mr. Osbourne was not being evaluated at the same

  standards. However, Defendant Pollard dismissed her concerns.

               i.          Retaliation

         44.     In March 2007, Ms. Wilson confronted Defendant VP Pollard about his sexual

  harassment. She told him that his behavior was inappropriate and that it was making her work

  environment uncomfortable, and asked him to stop. After a brief respite, Defendant Pollard

  resumed his harassment of Ms. Wilson.

         45.     Ms. Wilson then turned to the Company for help. She contacted HR Director

  Ward. When she told HR Director Ward about Defendant VP Pollard’s sexual harassment of

  her, HR Director Ward responded, “Maybe you should just wear turtlenecks.”



                                                 12
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 13 of 30                     PageID.782




         46.    Ms. Wilson also sought help from Clarice Inouye, Wyndham’s Human Resources

  Manager (“Ms. Inouye”) located in Kauai. However, Ms. Inouye’s response was equally non-

  responsive.

         47.    Ms. Wilson soon realized that the Company would not respond to complaints

  about sexual harassment. The Company’s refusal to take action to protect its female employees

  communicated to male employees that there were no consequences to their behavior. While Ms.

  Wilson’s requests for help fell on deaf ears, male managers and male Sales Associates continued

  to harass and discriminate against women with impunity.

         48.    In September 2009, immediately following Defendant VP Pollard’s promotion of

  Ms. Keyhoe, Ms. Wilson complained again to Defendant VP Pollard about the rampant

  discrimination at the Princeville site. Specifically, Ms. Wilson told Defendant VP Pollard that

  the discriminatory treatment of women could not continue, and that it was uncomfortable to

  work at Wyndham. In response, Defendant VP Pollard stated that Ms. Wilson could either

  “party with the boys” or keep her mouth shut and continue to earn a large paycheck.

         49.    Despite VP Pollard’s previous threats to terminate any employees who contacted

  HR, Ms. Wilson immediately contacted HR Director Ward by phone and filed a formal

  complaint through Wyndham’s corporate hotline, Wyntegrity, about the rampant sexual

  harassment and gender discrimination at the Princeville site. Ms. Wilson further informed the

  Company that Wyndham’s management at Princeville was manipulating hundreds of thousands

  of dollars through discriminatory promotions and sales opportunities.

         50.    In September 2009, the day after Ms. Wilson made complaints to both Defendant

  VP Pollard and HR Director Ward, Defendant VP Jonah called Ms. Wilson into her office and

  informed her that she was being suspended. Defendant VP Jonah stated that the directive had



                                                 13
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 14 of 30                       PageID.783




  come from Defendant VP Pollard and that Ms. Wilson was to go home and not return to the

  premises. Ms. Wilson was put on suspension for four days, which negatively impacted her

  entirely commissions-based compensation.

         51.     Finally, Defendant VP Jonah contacted Ms. Wilson and requested that she return

  to the Princeville site to meet with him. During this meeting, Defendant VP Jonah informed her

  that one of the owners had complained about her.

         52.     VP Jonah informed Ms. Wilson that Wyndham would investigate the complaint

  against her. She remained on suspension until October 4, 2009, when VP Jonah again called her

  into his office and stated that Wyndham decided she needed to separate from the Company.

         53.     Following her wrongful termination, Ms. Wilson contacted HR Director Ward

  and requested that HR Director Ward provide her with written documentation of the reason why

  she was terminated. In response, HR Director Ward informed her that Wyndham did not provide

  any such written documentation.

         54.     Wyndham’s actions demonstrated to Ms. Wilson that they were terminating her

  because she had engaged in protected activities, including reaching out to its corporate office to

  report discriminatorily based manipulation of Company tours and dollars at its Hawaii resorts.



         B.      Joanna Wheeler

         55.     Ms. Wheeler brings individual claims to recover damages for gender

  discrimination and retaliation.

         56.     In March 2009 Ms. Wheeler began her employment with Wyndham as a Sales

  Associate at Wyndham’s Princeville, Hawai’i site.

         57.     Prior to working for Wyndham, Ms. Wheeler worked in the sales industry for



                                                 14
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 15 of 30                      PageID.784




  nearly twenty years.

         58.      Ms. Wheeler demonstrated promising performance when she joined the

  Company. Ms. Wheeler received an award for achieving an exceptional monthly volume after

  working for the Company for a mere six months.

                  i.     Discriminatory Compensation and Denial of Career-Enhancing
                         Opportunities

         59.      In the course of Ms. Wheeler’s employment, Wyndham subjected her to

  discrimination in employment based on her sex and pregnancy by denying her pay and

  promotional opportunities equal to those of similarly-situated male employees, subjecting her to

  disparate terms and conditions of employment, a hostile work environment, retaliation, wrongful

  termination, and other forms of discrimination.

         60.      As alleged herein, Wyndham cultivated an environment in which male managers

  enjoyed unbridled decision-making power and used this authority to bestow the most favorable

  sales opportunities upon male employees, thereby opening doors to pay and promotional

  opportunities routinely withheld from women.

         61.      Ms. Wheeler observed this preferential treatment afforded to male employees

  throughout her employment at Wyndham.

         62.      A portion of the Marketing Department Representatives’ (“Marketing”)

  compensation system depended on the volume of tours they were able to book for the Wyndham

  Sales Associates like Ms. Wheeler.      As a result, Marketing often booked tours for Sales

  Associates with guests who were “unqualified” for the tours, e.g. did not meet minimum income

  requirements.

         63.      Company policy permitted Sales Associates to approach Marketing to have a tour

  removed from their records if, during the tour, the Sales Associate discovered that the guest was

                                                    15
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 16 of 30                     PageID.785




  somehow unqualified. This had the effect of protecting a Sales Associates’ numbers from being

  unfairly skewed by the types of guests assigned to them by Marketing.

         64.     Soon after she began working at Wyndham, Ms. Wheeler noticed male Sales

  Associates were given preferential treatment when they requested that the Company remove a

  tour from their records.

         65.     For example, on one occasion she observed male employee Rock White (“Mr.

  White”) discussing potential tours with his manager. Even though Wyndham policies prohibited

  managers from influencing the assignment of tours, Mr. White was permitted to review available

  tours and select those that he preferred.

         66.     The preferential treatment given to male Sales Associates had a direct and

  obvious impact on their performance. Specifically, due to the preferential and discriminatory

  treatment granted to Mr. White, his sales numbers quickly increased.

         67.     Even though Mr. White was unable to make a sale each day, his numbers

  continued to grow. As a result of this treatment, Mr. White’s compensation and his opportunities

  for advancement at the Company increased.

         68.     Although male management gave ample leeway to male employees, they did not

  similarly treat Ms. Wheeler. For example, on one occasion, Marketing assigned Ms. Wheeler to

  a couple who clearly did not meet the income requirements. This became clear to her as she

  interacted with the guests, one of whom was an unemployed full-time student. However, when

  Ms. Wheeler approached Marketing to request that it mark the guests as “unqualified,”

  Marketing flatly denied her request. Although Ms. Wheeler brought up her frustrations to her

  managers, they never offered to step in on her behalf to support her.




                                                  16
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 17 of 30                     PageID.786




         69.    During the last months of Ms. Wheeler’s employment, the Company often

  scheduled her tours so that she did not have time in between to prepare for her tours or even to

  use the restroom, rest, or eat. The unmanageable schedule she was given made work extremely

  stressful and made it difficult for her to perform as well. Male employees such as Mr. White,

  however, enjoyed manageable schedules that permitted them to rest and prepare for their next

  tours. Ms. Wheeler reached out to Defendant Director of Sales Virag to inform him that she was

  struggling with her schedule and to propose a change to make her schedule more manageable.

  However, Director Virag told her that she had to take the tours assigned to her. This open and

  constant disparate treatment of females at the Company denied female employees equal sales

  opportunities, compensation, and career-advancement opportunities.

         70.    Around December 2009, Ms. Wheeler also expressed concerns about the

  wrongful termination of Ms. Wilson. On several occasions when the topic of Ms. Wilson’s

  termination arose, Ms. Wheeler complained that she believed Ms. Wilson had been discriminated

  against. Specifically, in January 2010, Ms. Wheeler told Defendant VP Jonah the employees at

  the Princeville site, including her, were shocked by Ms. Wilson’s termination. Defendant VP

  Jonah verbally disciplined Ms. Wheeler for speaking out about Ms. Wilson’s termination, stating

  that her dissent was negative and unacceptable.

                ii.     Pregnancy Discrimination and Retaliation

         71.    Ms. Wheeler became pregnant in December 2009. In February 2010, she had a

  miscarriage. Because of the loss, she went on leave. Although she was devastated by the loss,

  she returned to work after a week because she was concerned that male-dominated management

  would think poorly of her for taking more time off. Wyndham treated Ms. Wheeler differently




                                                    17
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 18 of 30                       PageID.787




  than it treated its male employees, who were given consideration for their personal family

  situations.

          72.    After her return from maternity leave, in July 2010, management announced that

  it was raising the Volume Per Guest (“VPG”), to $2700. Management stated that the Sales

  Associates were expected to achieve 10 percent above the minimum for a total VPG of $3100.

  Prior to this change, the minimum VPG had been $2100 per guest.

          73.    Due to the change, Ms. Wheeler fell slightly below the minimum VPG.

  Nevertheless, her numbers hovered close to this new benchmark. Soon after the announcement

  and before Ms. Wheeler had had an opportunity to raise her VPG, her manager Defendant VP

  Jonah informed her that she was being placed on a Specific Performance (“SP”) plan for failing

  to meet this new minimum. Had management objectively enforced the proclaimed “minimum,”

  many of Ms. Wheeler’s colleagues would have also been placed on SP.

          74.    As part of the SP, Wyndham required Ms. Wheeler to make at least two sales per

  twelve guests (“CRS’s”) in order to keep her job. Notably, the Company assigned multiple

  guests to each of her tours, which effectively reduced her sales opportunities from twelve to nine

  tours. Upon information and belief, Wyndham did not similarly manipulate the number of

  CRS’s per tour for similarly-situated males.

          75.    Ms. Wheeler accomplished two large sales out of thirteen CRS’s (i.e. nine tours),

  and each sale had a net value of $46,600.

          76.    On August 2, 2010, two days after Ms. Wheeler completed her second sale and

  the sale was announced to the office, Defendant Director Virag pulled her aside and told her that

  he and Defendant VP Jonah wanted to meet with her in his office.




                                                 18
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 19 of 30                     PageID.788




         77.     When Ms. Wheeler arrived at his office, Defendants VP Jonah and Director Virag

  told her that she was being terminated for not meeting the terms of her SP.

         78.     Ms. Wheeler was upset by this news, partly because she had noticed the

  preferential treatment given to her male colleague, Joseph Trosino (“Mr. Trosino”), who was

  also on SP with her at the time. Specifically, the managers did not terminate him when he failed

  to complete his second sale in twelve tours. In fact, even though the terms of the SP required

  Mr. Trosino to make two sales out of twelve CRS’s, they gave him a thirteenth tour as a second

  chance to meet the criteria. Mr. Trosino made a sale on his thirteenth tour. From his two sales,

  Mr. Trosino sold a combined total volume of $17,000. On the date of her termination, Ms.

  Wheeler’s VPG was more than double Mr. Trosino’s.

         79.     Ms. Wheeler asked Defendant VP Jonah why the Company was terminating her

  on the one hand, and giving Mr. Trosino numerous exceptions on the other. When she expressed

  her concerns, Defendant Jonah defended Mr. Trosino, saying, “Don’t you know what he’s been

  going through?” It had been known around the office that Mr. Trosino’s wife had left him early

  that year and that he had taken leave as a result.

         80.     Moreover, Defendant Director of Sales Virag stated that one of the reasons that

  Ms. Wheeler had been selected for termination was that she had taken “too much time off that

  year,” referring to the time she had taken off in February 2010 related to her pregnancy and

  miscarriage. Ms. Wheeler was extremely upset by this comment and pointed out to him that she

  had been devastated by the loss of her baby. Ms. Wheeler also pointed out to him that she had

  only been gone for a week, which was less time off than Mr. Trosino had taken that year.

         81.     On the day that she was terminated, Ms. Wheeler ranked 7th out of 36 Sales

  Associates. Mr. Trosino ranked 22nd. Moreover, as of the day she was terminated, her VPG



                                                   19
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 20 of 30                       PageID.789




  was $3585 per guest, clearly above the supposed minimum. Mr. Trosino’s VPG was $1417. In

  fact, there were less than ten total employees, including Ms. Wheeler, who had met the $3100

  minimum, which meant that the other 20 Sales Associates in her office had failed to meet it.

  However, Ms. Wheeler was the only one terminated that day.

          82.     Soon after this conversation with Defendant VP Jonah and Defendant Director of

  Sales Virag, Ms. Wheeler called Wyndham’s HR to complaint about her termination. Ms.

  Wheeler informed the HR representative that she felt that she had been terminated wrongfully

  and that she had been held to a different standard of scrutiny than a similarly-situated male. The

  HR representative was unaware that Ms. Wheeler had been terminated, but assured her that HR

  would investigate. Ms. Wheeler never received a response to her complaint.

          83.     Also around this time, Ms. Wheeler called Wyntegrity, Wyndham’s corporate

  integrity hotline. Ms. Wheeler filed a similar complaint expressing her concern about her

  wrongful termination. The hotline representative told Ms. Wheeler that they would conduct an

  investigation. However, she never received a response to her hotline complaint.

          84.     Ms. Wheeler was officially terminated by Wyndham on or around August 15,

  2010.

                   DISCLAIMER OF FEDERAL REMOVAL JURISDICTION

          85.     Pursuant to 28 U.S.C. 1332(d)(2), the sum or value of this action does not exceed

  $5,000,000, exclusive of interest and costs.

          86.     Pursuant to 28 U.S.C. § 1332(d)(5), the number of members of all proposed

  Plaintiff class in the aggregate is less than 100.




                                                       20
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 21 of 30                        PageID.790




         87.      Pursuant to 28 U.S.C. 1332(d)(5), this action is not removable to federal court and

  if removed, Defendants have the burden of proving to a “legal certainty” the jurisdiction of any

  federal court over this action.

         88.      Pursuant to 28 U.S.C. 1332(d)(11), even if the Court declines class certification

  because it concludes that some or all of the requirements of Haw. R. Civ. Pro. 23(a), (b)(2) or

  (b)(3) are not met, all of the claims in this action arise from events or occurrences and the

  injuries to Class Representatives and Class members occurred in Hawai’i.

               a. The individual claims of the Class Representatives require resolution of the

                  common question of whether Wyndham has engaged in a systemic pattern and/or

                  practice of gender discrimination against female Sales Associates. The Class

                  Representatives seek remedies to eliminate the adverse effects of such

                  discrimination in her own life, career, and working conditions and in the lives,

                  careers, and working conditions of the proposed class members, and to prevent

                  continued gender discrimination in the future. The Class Representatives have

                  standing to seek such relief because of the adverse effect that such discrimination

                  has had on her individually and on females Sales Associates generally. In order

                  to gain such relief for themselves, as well as for the proposed class members, the

                  Class Representatives will first establish the existence of systemic gender

                  discrimination as the premise for the relief she seeks.

               b. Without class certification, the same evidence and issues would be subject to re-

                  litigation in a multitude of individual lawsuits with an attendant risk of

                  inconsistent adjudications and conflicting obligations.      Certification of the

                  proposed class of females who have been affected by these common questions of



                                                   21
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 22 of 30                       PageID.791




                  law and fact is the most efficient and judicious means of presenting the evidence

                  and arguments necessary to resolve such questions for the Class Representatives,

                  the proposed class, and Wyndham.


          89.     The Class Representatives’ individual and class claims are premised upon the

  traditional bifurcated method of proof and trial for disparate impact and systemic disparate

  treatment claims of the type at issue in this case. Such a bifurcated method of proof and trial is

  the most efficient method of resolving such common issues.

                        FIRST CLAIM FOR RELIEF (INDIVIDUAL CLAIM)
                          VIOLATIONS OF HAW. REV. STAT. § 378-2

                                GENDER DISCRIMINATION
      Pay, Promotion and Career-Enhancing Opportunities, Pregnancy, and Other Forms of
                                     Disparate Treatment
          (On Behalf of Ms. Wilson and Ms. Wheeler Against the Corporate Defendants)

          90.     Plaintiffs re-allege and incorporate by reference all paragraphs above as though

  fully set forth herein.

          91.     This Claim is brought on behalf of the Plaintiffs.

          92.     Corporate Defendants have discriminated against the Plaintiffs in violation of

  Haw. Rev. Stat. § 378-2 by subjecting them to different treatment on the basis of their gender

  and/or pregnancy. The Plaintiffs have been disparately impacted and disparately treated as a

  result of Corporate Defendants’ wrongful conduct and its policies, practices and procedures and

  seek declaratory, injunctive, equitable and legal relief.

          93.     Corporate Defendants have discriminated against the Plaintiffs by treating them

  differently from and less preferably than similarly-situated male employees and non-pregnant

  female employees without primary caregiving responsibilities, and by subjecting them to

  differential and substandard terms and conditions of employment including but not limited to

                                                   22
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 23 of 30                          PageID.792




  discriminatory denial of fair compensation, denial of fair sales opportunities, discriminatory

  denial of promotional opportunities, increased scrutiny, discriminatory discipline, and other

  forms of discriminatory treatment, in violation of the Haw. Rev. Stat. § 378-2.

          94.     Corporate Defendants’ conduct has been intentional, deliberate, willful,

  malicious, reckless and conducted in callous disregard of the rights of the Plaintiffs, entitling the

  Plaintiffs to punitive damages.

          95.     As a result of Corporate Defendants’ conduct alleged in this complaint, the

  Plaintiffs have suffered and continue to suffer harm, including but not limited to lost earnings,

  lost benefits, and other financial loss, as well as humiliation, embarrassment, emotional and

  physical distress, and mental anguish for which they seek declaratory, injunctive, equitable and

  legal relief.

          96.     By reason of Corporate Defendants’ discrimination, the Plaintiffs are entitled to

  all legal and equitable remedies available for violations of Haw. Rev. Stat. § 378-5, including an

  award of punitive damages.

          97.     Attorneys’ fees should be awarded.



                        SECOND CLAIM FOR RELIEF (INDIVIDUAL CLAIM)
                           VIOLATIONS OF HAW. REV. STAT. § 378-2(3)

                                   AIDING AND ABETTING
           (On Behalf of Ms. Wilson and Ms. Wheeler Against the Individual Defendants)

          98.     The Plaintiffs re-allege and incorporate by reference each and every allegation

  contained in the previous paragraphs of this Complaint as though fully set forth herein.

          99.     On information and belief, Individual Defendants VP Jonah, VP Pollard, and

  Director of Sales Virag all actively and knowingly participated in practices that resulted in unfair



                                                   23
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 24 of 30                          PageID.793




  compensation and promotion, a hostile work environment, and other forms of discrimination

  based on gender.

         100.    By aiding, abetting, inciting, compelling and/or ratifying Corporate Defendant

  Wyndham’s discriminatory practices and decisions, each Individual Defendant has aided and

  abetted both the Corporate Defendants’ and each of the other Individual Defendant’s

  discrimination against the Plaintiffs, in violation of H.R.S. § 378-2(3).

         101.    Individual Defendants’ conduct has been intentional, deliberate, willful, reckless,

  and conducted in callous disregard of Plaintiffs’ rights.

         102.    The Plaintiffs are therefore entitled to all legal and equitable remedies, as well as

  punitive damages.

         103.    Attorneys’ fees should be awarded.

                         THIRD CLAIM FOR RELIEF (INDIVIDUAL CLAIM)
                         VIOLATIONS OF HAW. REV. STAT. §§ 378-62 to -65

                                           RETALIATION
                      (On Behalf of Ms. Wilson Against the Corporate Defendants)

         119.    Ms. Wilson re-alleges and incorporates by reference each and every allegation

  contained in the previous paragraphs of this Complaint as though fully set forth herein.

         120.    Ms. Wilson engaged in a protected activity by complaining about gender

  discrimination—including but not limited to pay disparity, denial of opportunities for

  professional advancement, favorable treatment towards male employees, derogatory remarks,

  and sexual harassment—to people in management positions and in Human Resources.

         121.    Defendants engaged in adverse employment actions against Ms. Wilson for

  engaging in protected activities. Such adverse employment actions taken have been in the form

  of subjecting her to unfavorable terms and conditions of employment, including, without

  limitation, denials of sales opportunities leading to pay disparity, denial of opportunities for

                                                   24
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 25 of 30                          PageID.794




  professional advancement, increased scrutiny, and hostile working environments. The adverse

  employment actions have materially and adversely affected Ms. Wilson’s overall terms and

  conditions of employment.

         122.    A reasonable employee would find the Company’s retaliatory acts materially

  adverse and such acts would dissuade a reasonable person from making or supporting a charge of

  discrimination.

         123.    Defendants’ retaliatory acts against Ms. Wilson were a direct, proximate, and

  pretextual result of Ms. Wilson’s protected activities.

         124.    Defendants’ conduct has been intentional, deliberate, willful, malicious, reckless

  and conducted in callous disregard of the rights of Ms. Wilson, entitling her to punitive damages.

         125.    As a result of Defendants’ conduct alleged in this complaint, Ms. Wilson has

  suffered and continue to suffer harm, including but not limited to lost earnings, lost benefits, and

  other financial loss, as well as humiliation, embarrassment, emotional and physical distress, and

  mental anguish.

         126.    By reason of Defendants’ discrimination, Ms. Wilson is entitled to all legal and

  equitable remedies available for violations of the H.R.S. §§ 378-62 to -65, including an award of

  punitive damages.

         127.    Attorneys’ fees should be awarded.


                       FOURTH CLAIM FOR RELIEF (INDIVIDUAL CLAIM)
                        VIOLATIONS OF HAW. REV. STAT. §§ 378-62 to -65

                                           RETALIATION
                      (On Behalf of Ms. Wheeler Against the Corporate Defendants)

         128.    Ms. Wheeler re-alleges and incorporates by reference each and every allegation

  contained in the previous paragraphs of this Complaint as though fully set forth herein.


                                                   25
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 26 of 30                         PageID.795




         129.    Ms. Wheeler engaged in a protected activity of being pregnant and taking

  pregnancy-related leave.

         130.    Ms. Wheeler also engaged in a protected activity of complaining about gender

  discrimination to people in management positions.

         131.    Defendants engaged in adverse employment actions against Ms. Wheeler for

  engaging in protected activities. Such adverse employment actions taken have been in the form

  of subjecting her to unfavorable terms and conditions of employment, including, without

  limitation, denials of sales opportunities leading to pay disparity, denial of opportunities for

  professional advancement, increased scrutiny, and hostile working environments. The adverse

  employment actions have materially and adversely affected Ms. Wheeler’s overall terms and

  conditions of employment.

         132.    A reasonable employee would find the Company’s retaliatory acts materially

  adverse and such acts would dissuade a reasonable person from making or supporting a charge of

  discrimination.

         133.    Defendants’ retaliatory acts against Ms. Wheeler were a direct, proximate, and

  pretextual result of the Ms. Wheeler’s protected activities.

         134.    Defendants’ conduct has been intentional, deliberate, willful, malicious, reckless

  and conducted in callous disregard of the rights of Ms. Wheeler, entitling her to punitive

  damages.

         135.    As a result of Defendants’ conduct alleged in this complaint, Ms. Wheeler has

  suffered and continue to suffer harm, including but not limited to lost earnings, lost benefits, and

  other financial loss, as well as humiliation, embarrassment, emotional and physical distress, and

  mental anguish.



                                                   26
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 27 of 30                          PageID.796




         136.    By reason of Defendants’ discrimination, Ms. Wheeler is entitled to all legal and

  equitable remedies available for violations of the H.R.S. §§ 378-62 to -65, including an award of

  punitive damages.

         137.    Attorneys’ fees should be awarded.

                      FIFTH CLAIM FOR RELIEF (INDIVIDUAL CLAIM)
                         VIOLATIONS OF HAW. REV. STAT. § 378-2

                                SEXUAL HARASSMENT
   (On Behalf of Ms. Wilson Against the Corporate Defendants and Defendant VP Pollard)

         138.    Ms. Wilson re-alleges and incorporates by reference each and every allegation

  contained in the previous paragraphs of this Complaint as though fully set forth herein.

         139.     Wyndham has discriminated against Ms. Wilson by permitting an ongoing,

  severe or pervasive pattern and practice of sexual harassment against her by creating and

  maintaining a sexually hostile work environment in violation of H.R.S. § 378-2.

         140.    Wyndham’s sexual harassment detrimentally affected Ms. Wilson and altered her

  conditions of employment by creating a hostile working environment for her.

         141.    Wyndham’s conduct has been intentional, deliberate, willful, malicious, reckless

  and conducted in callous disregard of her rights.

         142.    As a direct and proximate result of Wyndham’s aforementioned conduct, Ms.

  Wilson was damaged and suffered economic losses, mental and emotional harm, anguish and

  humiliation.

         143.    By reason of the continuous nature of Wyndham’s discriminatory conduct,

  persistent throughout the employment of Ms. Wilson, she is entitled to the application of the

  continuing violation doctrine to all of the violations alleged herein.

         144.    By reason of the sexual harassment suffered at Wyndham, Ms. Wilson is entitled

  to all legal and equitable remedies available under H.R.S. § 378-5.
                                                   27
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 28 of 30                     PageID.797




        145.   Attorneys’ fees should be awarded.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray that this Court:

        A.     Declare and adjudge that the Corporate Defendants’          employment policies,

               practices and/or procedures challenged herein are illegal and in violation of the

               rights of Plaintiffs;

        B.     Order a permanent injunction against Wyndham Worldwide Corporation,

               Wyndham Vacation Resorts, Inc., Wyndham Vacation Ownership, Inc., and its

               partners, officers, owners, agents, successors, employees and/or representatives,

               and any and all persons acting in concert with them, from engaging in any further

               unlawful practices, policies, customs, usages, and gender discrimination as set

               forth herein;

        C.     Order Defendants to initiate and implement programs that will: (i) provide equal

               employment opportunities for female employees; (ii) remedy the effects of the

               Defendants’ past and present unlawful employment policies, practices and/or

               procedures; and (iii) eliminate the continuing effects of the discriminatory and

               retaliatory practices described above; and/or

        D.     Order Defendants to initiate and implement systems of assigning, training,

               transferring, compensating and promoting female employees in a non-

               discriminatory manner; and/or

        E.     Order Defendants to establish a task force on equality and fairness to determine

               the effectiveness of the programs described in D above, which would provide for:

               (i) monitoring, reporting, and retaining of jurisdiction to ensure equal employment



                                                28
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 29 of 30                      PageID.798




              opportunity; (ii) the assurance that injunctive relief is properly implemented; and

              (iii) a quarterly report setting forth information relevant to the determination of

              the effectiveness of the programs described in E through F above; and/or

        F.    Order Defendants to adjust the compensation and benefits for the Plaintiffs to the

              level that they would be enjoying but for the Defendants’ discriminatory policies,

              practices and/or procedures; and/or

        G.    Order Defendants to place or restore the Plaintiffs into those jobs they would now

              be occupying but for Defendants’ discriminatory policies, practices and/or

              procedures; and/or

        H.    Order that this Court retain jurisdiction of this action until such time as the Court

              is satisfied that the Defendants have remedied the practices complained of herein

              and are determined to be in full compliance with the law; and/or

        I.    Award nominal, compensatory and punitive damages for each and every claim

              made herein; and/or

        J.    Award for all damages allowed or recoverable by law, i.e. compensatory, special

              and general damages as allowed by law; and/or

        K.    Pre-judgment interest; and/or

        L.    Award litigation costs and expenses, including, but not limited to, reasonable

              attorneys’ fees, to the Plaintiffs; and/or

        M.    Award back pay, front pay, lost benefits, preferential rights to jobs and other

              damages for lost compensation and job benefits with pre-judgment and post-

              judgment interest suffered by the Plaintiffs to be determined at trial; and/or




                                                29
Case 1:11-cv-00538-DKW-BMK Document 70 Filed 02/20/13 Page 30 of 30   PageID.799
